




 &nbsp;&nbsp;NOTICE: Under Supreme Court Rule 367 a party has 21 days

 &nbsp;&nbsp;after the filing of the opinion to request a rehearing.

 &nbsp;&nbsp;Also, opinions are subject to modification, correction or

 &nbsp;&nbsp;withdrawal at anytime prior to issuance of the mandate by

 &nbsp;&nbsp;the Clerk of the Court. Therefore, because the following

 &nbsp;&nbsp;slip opinion is being made available prior to the Court's

 &nbsp;&nbsp;final action in this matter, it cannot be considered the

 &nbsp;&nbsp;final decision of the Court. The official copy of the

 &nbsp;&nbsp;following opinion will be published by the Supreme Court's

 &nbsp;&nbsp;Reporter of Decisions in the Official Reports advance

 &nbsp;&nbsp;sheets following final action by the Court.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Docket No. 80025--Agenda 16--March 1996.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ZURICH INSURANCE COMPANY, Appellee, v. BAXTER

 INTERNATIONAL, INC., et al. (Baxter International, Inc.,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;et al., Appellants).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Opinion filed June 20, 1996.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE HARRISON delivered the opinion of the court:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This appeal concerns a declaratory judgment action

 &nbsp;&nbsp;brought in the circuit court of Lake County by Zurich

 &nbsp;&nbsp;Insurance Company to determine its obligations under various

 &nbsp;&nbsp;insurance policies issued to Baxter International, Inc., and

 &nbsp;&nbsp;Baxter Healthcare Corporation (referred to collectively as

 &nbsp;&nbsp;Baxter). The question before us is whether the circuit court

 &nbsp;&nbsp;abused its discretion when it issued an order pursuant to

 &nbsp;&nbsp;section 2--619(a)(3) of the Code of Civil Procedure (735 ILCS

 &nbsp;&nbsp;5/2--619(a)(3) (West 1992)) staying Zurich's lawsuit pending

 &nbsp;&nbsp;the outcome of a second declaratory judgment action involving

 &nbsp;&nbsp;the same issues subsequently filed by Baxter against Zurich

 &nbsp;&nbsp;in the state of California. For the reasons that follow, we

 &nbsp;&nbsp;agree with the appellate court that the stay should not have

 &nbsp;&nbsp;been granted. 275 Ill. App. 3d 30. Subject to certain

 &nbsp;&nbsp;modifications pertaining to the joinder of parties, the

 &nbsp;&nbsp;appellate court's judgment is therefore affirmed.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The relevant facts are undisputed. Zurich is a Swiss

 &nbsp;&nbsp;corporation whose main administrative offices in the United

 &nbsp;&nbsp;States are located in Illinois. Baxter International, Inc.,

 &nbsp;&nbsp;and Baxter Healthcare Corporation are Delaware corporations

 &nbsp;&nbsp;whose corporate headquarters, including their risk management

 &nbsp;&nbsp;department, are also located in Illinois. According to the

 &nbsp;&nbsp;record, Zurich issued a series of comprehensive general

 &nbsp;&nbsp;liability insurance policies to Baxter covering periods

 &nbsp;&nbsp;between 1978 and 1986. All of these policies were delivered,

 &nbsp;&nbsp;issued, and serviced in Illinois by Illinois brokers and

 &nbsp;&nbsp;underwriters.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;One of Baxter's businesses involves extracting blood

 &nbsp;&nbsp;factor concentrates from plasma for use in treating

 &nbsp;&nbsp;hemophilia. Baxter has been sued by hemophiliacs from

 &nbsp;&nbsp;Illinois and elsewhere who allege that these concentrates

 &nbsp;&nbsp;were contaminated with the human immunodeficiency virus

 &nbsp;&nbsp;(HIV), that the concentrates infected them with the virus,

 &nbsp;&nbsp;and that they suffer or expect to suffer from Acquired Immune

 &nbsp;&nbsp;Deficiency Syndrome (AIDS). Although the parties have not

 &nbsp;&nbsp;cited any evidence indicating the precise number of such

 &nbsp;&nbsp;lawsuits, the jurisdictions in which the suits have been

 &nbsp;&nbsp;filed or how many individual claimants there are, counsel

 &nbsp;&nbsp;represent that Baxter is involved in at least 100 cases

 &nbsp;&nbsp;involving more than 10,000 HIV-infected hemophiliacs. Among

 &nbsp;&nbsp;these are cases that are pending or have been tried in

 &nbsp;&nbsp;Illinois, including a class action on behalf of approximately

 &nbsp;&nbsp;7,500 claimants filed in the United States District Court for

 &nbsp;&nbsp;the Northern District of Illinois.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the wake of this litigation, Zurich filed the present

 &nbsp;&nbsp;action to obtain a declaratory judgment that it had no duty

 &nbsp;&nbsp;under the comprehensive general liability insurance policies

 &nbsp;&nbsp;it had issued to Baxter to defend the company against or

 &nbsp;&nbsp;indemnify it for claims pertaining to the HIV-contaminated

 &nbsp;&nbsp;blood factor concentrates. Baxter responded by filing its own

 &nbsp;&nbsp;action in California, where the blood factor concentrates

 &nbsp;&nbsp;were processed, asking for a declaratory judgment that Zurich

 &nbsp;&nbsp;did have a duty under the policies to defend and indemnify

 &nbsp;&nbsp;it. The California action also sought a declaratory judgment

 &nbsp;&nbsp;with respect to the rights and obligations of Baxter's

 &nbsp;&nbsp;numerous excess insurers, but all but one of those excess

 &nbsp;&nbsp;insurers have now been dismissed from the case.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the outset of these proceedings Baxter claimed that

 &nbsp;&nbsp;it initiated the separate action in California as a "counter

 &nbsp;&nbsp;punch" to Zurich's lawsuit. Before this court, its position

 &nbsp;&nbsp;is different. The company denies that its motive is to harass

 &nbsp;&nbsp;Zurich or secure some tactical advantage over it. According

 &nbsp;&nbsp;to Baxter, its true purpose is simply to sidestep the HIV-

 &nbsp;&nbsp;infected hemophiliacs who have sued it.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, as in the appellate court, Baxter contends that

 &nbsp;&nbsp;under Illinois law, tort claimants are necessary parties in

 &nbsp;&nbsp;declaratory judgment actions regarding insurance coverage for

 &nbsp;&nbsp;their claims, and they must be joined in order for the

 &nbsp;&nbsp;declaratory judgment proceedings to go forward. Under

 &nbsp;&nbsp;California law, by contrast, they are not necessary parties

 &nbsp;&nbsp;and joinder is not required. Accordingly, Baxter contends

 &nbsp;&nbsp;that suing in California will enable it to resolve its

 &nbsp;&nbsp;insurance coverage dispute with Zurich free from

 &nbsp;&nbsp;participation by the legion tort claimants who are pursuing

 &nbsp;&nbsp;it.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;While Baxter now professes concern with simplifying its

 &nbsp;&nbsp;dispute against Zurich, we note that Zurich's original

 &nbsp;&nbsp;Illinois complaint was actually less complex than the

 &nbsp;&nbsp;complaint filed by Baxter itself in California. Unlike the

 &nbsp;&nbsp;California action, the Illinois litigation did not name any

 &nbsp;&nbsp;of Baxter's excess insurers. The only parties to the

 &nbsp;&nbsp;proceeding were Zurich and Baxter, and Baxter did not assert

 &nbsp;&nbsp;that the case could not proceed in that posture.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When Baxter subsequently moved to stay or dismiss the

 &nbsp;&nbsp;Illinois action, it did not do so on the grounds that

 &nbsp;&nbsp;Zurich's original complaint was defective and should be

 &nbsp;&nbsp;dismissed for failure to join necessary parties. Instead, it

 &nbsp;&nbsp;invoked section 2--619(a)(3) of the Code of Civil Procedure

 &nbsp;&nbsp;(735 ILCS 5/2--619(a)(3) (West 1992)), which provides that

 &nbsp;&nbsp;a defendant may move for dismissal or other appropriate

 &nbsp;&nbsp;relief on the grounds that "there is another action pending

 &nbsp;&nbsp;between the same parties for the same cause." Baxter also

 &nbsp;&nbsp;argued that the case was premature.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The idea that there might be a problem with failure to

 &nbsp;&nbsp;join necessary parties did not arise until it was raised by

 &nbsp;&nbsp;the circuit court, sua sponte. Although the court denied

 &nbsp;&nbsp;Baxter's motion to dismiss, the court was concerned that

 &nbsp;&nbsp;Illinois law might require joinder of the underlying tort

 &nbsp;&nbsp;claimants in cases such as this, as Baxter now asserts. The

 &nbsp;&nbsp;court gave the parties the opportunity to brief the issue and

 &nbsp;&nbsp;present arguments at a series of hearings, after which it

 &nbsp;&nbsp;concluded that the underlying tort claimants were necessary

 &nbsp;&nbsp;parties and must be joined before the case could proceed. The

 &nbsp;&nbsp;court further concluded that the joinder problem could not

 &nbsp;&nbsp;be avoided by using class action procedures or by relying on

 &nbsp;&nbsp;the doctrine of representation.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rather than dismiss Zurich's complaint outright, the

 &nbsp;&nbsp;circuit court continued the case, giving the company leave

 &nbsp;&nbsp;to file an amended complaint addressing the joinder problem.

 &nbsp;&nbsp;Zurich responded by filing a new complaint that named as

 &nbsp;&nbsp;parties Baxter's excess insurers and the particular

 &nbsp;&nbsp;underlying claimants over whom the Illinois courts could

 &nbsp;&nbsp;assert in personam jurisdiction. In this version of its

 &nbsp;&nbsp;complaint, Zurich dropped its request for a comprehensive

 &nbsp;&nbsp;declaration of its rights and obligations under the Baxter

 &nbsp;&nbsp;insurance policies. Instead, it limited its prayer for relief

 &nbsp;&nbsp;to the circumstances presented by the particular claimants

 &nbsp;&nbsp;it had actually joined as parties.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Baxter did not deny that this approach resolved the

 &nbsp;&nbsp;circuit court's joinder concerns. Its attack on Zurich's

 &nbsp;&nbsp;action took a new turn. Baxter now filed a new motion to

 &nbsp;&nbsp;dismiss under section 2--619(a)(3) of the Code, arguing that

 &nbsp;&nbsp;the Illinois action should be stayed pending resolution of

 &nbsp;&nbsp;the case in California because, in its amended form, the

 &nbsp;&nbsp;Illinois action was now less "comprehensive" than its

 &nbsp;&nbsp;California counterpart. The circuit court agreed with

 &nbsp;&nbsp;Baxter's argument, and on October 25, 1994, it entered an

 &nbsp;&nbsp;order granting the stay requested by Baxter.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Several days later, on a motion filed by Zurich, the

 &nbsp;&nbsp;circuit court also made a written finding under Supreme Court

 &nbsp;&nbsp;Rule 308 (155 Ill. 2d R. 308) that its previous orders with

 &nbsp;&nbsp;respect to the issue of joinder involved questions of law as

 &nbsp;&nbsp;to which there is substantial ground for difference of

 &nbsp;&nbsp;opinion and that an immediate appeal may materially advance

 &nbsp;&nbsp;the ultimate termination of the litigation. The particular

 &nbsp;&nbsp;questions of law identified by the circuit court were (1)

 &nbsp;&nbsp;whether the underlying claimants and excess insurers did in

 &nbsp;&nbsp;fact have to be joined as necessary parties for the case to

 &nbsp;&nbsp;proceed, and (2) whether the court correctly refused to allow

 &nbsp;&nbsp;Zurich to use a class action mechanism or to rely on the

 &nbsp;&nbsp;doctrine of representation in lieu of joining the individual

 &nbsp;&nbsp;claimants from the underlying tort actions against Baxter.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Once the circuit court entered its findings, Zurich

 &nbsp;&nbsp;sought leave to appeal under Supreme Court Rule 308 (155 Ill.

 &nbsp;&nbsp;2d R. 308) from the circuit court's orders concerning the

 &nbsp;&nbsp;issue of joinder. Although the appellate court denied

 &nbsp;&nbsp;Zurich's application, we entered an order in the exercise of

 &nbsp;&nbsp;our supervisory authority requiring the appellate court to

 &nbsp;&nbsp;hear Zurich's Rule 308 appeal on the merits. We subsequently

 &nbsp;&nbsp;clarified that order to make clear that our instructions were

 &nbsp;&nbsp;not meant to bar Baxter from arguing that Zurich had waived

 &nbsp;&nbsp;its right to contest the joinder issues.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the same time it was pursuing this Rule 308 appeal,

 &nbsp;&nbsp;Zurich also filed an interlocutory appeal as of right from

 &nbsp;&nbsp;the circuit court's order staying the Illinois declaratory

 &nbsp;&nbsp;judgment action pending resolution of the action in

 &nbsp;&nbsp;California. 155 Ill. 2d R. 307(a)(1). The appellate court

 &nbsp;&nbsp;subsequently consolidated this appeal with Zurich's appeal

 &nbsp;&nbsp;under Rule 308, reversed the circuit court's stay, and

 &nbsp;&nbsp;remanded the cause for trial, holding, inter alia, that

 &nbsp;&nbsp;Zurich had not waived its right to contest the joinder issues

 &nbsp;&nbsp;and that joinder of all of the underlying claimants is not

 &nbsp;&nbsp;necessary in mass-tort litigation such as this. 275 Ill. App.

 &nbsp;&nbsp;3d 30. On Baxter's application, the appellate court granted

 &nbsp;&nbsp;a certificate of importance, and the matter is now before us

 &nbsp;&nbsp;for review under Rule 316 (155 Ill. 2d R. 316).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, as in the appellate court, Baxter continues to

 &nbsp;&nbsp;assert that Zurich has waived its right to contest the

 &nbsp;&nbsp;circuit court's rulings on the issue of joinder. We agree.

 &nbsp;&nbsp;As previously mentioned, the circuit court held that the

 &nbsp;&nbsp;underlying tort claimants were necessary parties, that they

 &nbsp;&nbsp;all had to be joined in order for the case to proceed, and

 &nbsp;&nbsp;that this joinder requirement could not be satisfied by means

 &nbsp;&nbsp;of a class action or through the doctrine of representation.

 &nbsp;&nbsp;Faced with such a ruling, Zurich could have elected to stand

 &nbsp;&nbsp;on its pleadings, taken an involuntary dismissal of its

 &nbsp;&nbsp;action with prejudice pursuant to section 2--615 of the Code

 &nbsp;&nbsp;of Civil Procedure (735 ILCS 5/2--615 (West 1992)), and then

 &nbsp;&nbsp;appealed that judgment. It elected not to do so. Instead, it

 &nbsp;&nbsp;responded to the circuit court's rulings by filing an amended

 &nbsp;&nbsp;pleading.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Zurich's new pleading was complete in itself, did not

 &nbsp;&nbsp;refer to or adopt allegations in the prior pleadings, and

 &nbsp;&nbsp;sought relief in the specific context of particular claimants

 &nbsp;&nbsp;over whom the Illinois courts could assert in personam

 &nbsp;&nbsp;jurisdiction. There were no class action allegations or

 &nbsp;&nbsp;allegations involving the doctrine of representation, and

 &nbsp;&nbsp;Zurich no longer asserted that it could proceed against

 &nbsp;&nbsp;Baxter alone without joinder of the underlying tort

 &nbsp;&nbsp;claimants. Under these circumstances, Zurich's previous

 &nbsp;&nbsp;pleadings were, in effect, abandoned and withdrawn (Pfaff v.

 &nbsp;&nbsp;Chrysler Corp., 155 Ill. 2d 35, 61 (1992)), and Zurich waived

 &nbsp;&nbsp;any objection to the circuit court's rulings with respect to

 &nbsp;&nbsp;those pleadings (Boatmen's National Bank v. Direct Lines,

 &nbsp;&nbsp;Inc., 167 Ill. 2d 88, 99 (1995)). Because the issues raised

 &nbsp;&nbsp;by Zurich's Rule 308 appeal pertained only to the earlier

 &nbsp;&nbsp;pleadings and were inapplicable to the final version of

 &nbsp;&nbsp;Zurich's complaint, the appellate court therefore erred in

 &nbsp;&nbsp;addressing them on the merits. Accordingly, the appellate

 &nbsp;&nbsp;court's discussion of necessary parties in mass-tort

 &nbsp;&nbsp;litigation cannot stand and is of no precedential value.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although we must disavow that portion of the appellate

 &nbsp;&nbsp;court's opinion, we nevertheless agree with its ultimate

 &nbsp;&nbsp;conclusion that the circuit court erred in staying the

 &nbsp;&nbsp;circuit court proceedings pursuant to section 2--619(a)(3)

 &nbsp;&nbsp;of the Code. That provision allows a defendant to move for

 &nbsp;&nbsp;a dismissal or stay whenever there is "another action pending

 &nbsp;&nbsp;between the same parties for the same cause." 735 ILCS 5/2--

 &nbsp;&nbsp;619(a)(3) (West 1992). Although the purpose of the law is to

 &nbsp;&nbsp;avoid duplicative litigation, a circuit court is not

 &nbsp;&nbsp;automatically required to dismiss or stay a proceeding under

 &nbsp;&nbsp;section 2--619(a)(3) even when the "same cause" and "same

 &nbsp;&nbsp;parties" requirements are met. Multiple actions in different

 &nbsp;&nbsp;jurisdictions arising out of the same operative facts may be

 &nbsp;&nbsp;maintained where the circuit court, in a sound exercise of

 &nbsp;&nbsp;its discretion, determines that both actions should proceed.

 &nbsp;&nbsp;Factors a court should consider in deciding whether a stay

 &nbsp;&nbsp;is warranted under section 2--619(a)(3) include comity; the

 &nbsp;&nbsp;prevention of multiplicity, vexation and harassment; the

 &nbsp;&nbsp;likelihood of obtaining complete relief in the foreign

 &nbsp;&nbsp;jurisdiction; and the res judicata effect of a foreign

 &nbsp;&nbsp;judgment in the local forum. Kellerman v. MCI

 &nbsp;&nbsp;Telecommunications Corp., 112 Ill. 2d 428, 447-48 (1986).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, both Zurich and Baxter have headquarters

 &nbsp;&nbsp;in Illinois. Baxter's risk management department is located

 &nbsp;&nbsp;in Illinois, the disputed insurance policies were negotiated

 &nbsp;&nbsp;and signed in Illinois, and there is no question that

 &nbsp;&nbsp;interpretation of the policies will be governed by Illinois

 &nbsp;&nbsp;law. This is, in every way, an Illinois dispute, and the

 &nbsp;&nbsp;California trial court before which Baxter's action is

 &nbsp;&nbsp;pending has recognized it as such. If the Illinois courts are

 &nbsp;&nbsp;willing to provide a forum, the California trial court will

 &nbsp;&nbsp;gladly yield.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although Baxter denies any improper motive, its

 &nbsp;&nbsp;original justification for filing in California, to "counter

 &nbsp;&nbsp;punch" Zurich, seems blatantly retaliatory. It subsequently

 &nbsp;&nbsp;attempted to legitimize its position by focusing on interests

 &nbsp;&nbsp;of the underlying tort claimants. As our previous discussion

 &nbsp;&nbsp;indicated, however, the question of whether those claimants

 &nbsp;&nbsp;should participate in the litigation was raised by the

 &nbsp;&nbsp;circuit court, sua sponte, not by Baxter. When Baxter

 &nbsp;&nbsp;initially responded to Zurich's Illinois action and filed its

 &nbsp;&nbsp;own complaint in California, the underlying claimants played

 &nbsp;&nbsp;no discernible role in its strategy. Baxter did not embrace

 &nbsp;&nbsp;the notion that they might be necessary parties until the

 &nbsp;&nbsp;circuit court's actions indicated that such a position might

 &nbsp;&nbsp;help the company rationalize its decision to file a parallel

 &nbsp;&nbsp;suit in California.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Even after Baxter began expressing concern for the tort

 &nbsp;&nbsp;claimants, its sincerity was questionable. While the company

 &nbsp;&nbsp;appeared to champion the importance of protecting the tort

 &nbsp;&nbsp;claimants' interests, its attorney asserted at oral argument

 &nbsp;&nbsp;before this court that his client's true reason for suing in

 &nbsp;&nbsp;California was to prevent the claimants from playing any role

 &nbsp;&nbsp;in the litigation. Rather than guarding the claimants, Baxter

 &nbsp;&nbsp;is intent on avoiding them.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Baxter's strategy is based on the notion that where an

 &nbsp;&nbsp;insurance company brings a declaratory judgment action

 &nbsp;&nbsp;against its insured to determine the company's obligations

 &nbsp;&nbsp;under a liability policy, claimants seeking recovery from the

 &nbsp;&nbsp;insured in the underlying tort actions are not necessary

 &nbsp;&nbsp;parties to the declaratory judgment action under California

 &nbsp;&nbsp;law. According to Baxter, the law in Illinois is different.

 &nbsp;&nbsp;Here, they are necessary parties who must be joined in order

 &nbsp;&nbsp;for the declaratory judgment action to proceed. See M.F.A.

 &nbsp;&nbsp;Mutual Insurance Co. v. Cheek, 66 Ill. 2d 492, 495 (1977);

 &nbsp;&nbsp;but see Zurich Insurance Co. v. Raymark Industries, Inc., 118

 &nbsp;&nbsp;Ill. 2d 23 (1987) (a declaratory judgment defining an

 &nbsp;&nbsp;insurer's duty to defend and indemnify its insured in

 &nbsp;&nbsp;thousands of underlying actions was reviewed on the merits

 &nbsp;&nbsp;by this court even though none of the underlying tort

 &nbsp;&nbsp;claimants had been joined as parties).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The joinder question was one of the issues raised by

 &nbsp;&nbsp;Zurich's Rule 308 appeal. As we have held, Zurich waived the

 &nbsp;&nbsp;issue when it decided to amend its complaint to seek relief

 &nbsp;&nbsp;in the context of specific litigation involving particular

 &nbsp;&nbsp;litigants over whom the Illinois courts had in personam

 &nbsp;&nbsp;jurisdiction. Without suggesting how we would resolve the

 &nbsp;&nbsp;issue if it were properly before us, we note that even if we

 &nbsp;&nbsp;agreed with Baxter's interpretation of the law, the company's

 &nbsp;&nbsp;argument would be unavailing.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;If Baxter's interpretation is correct, Illinois law

 &nbsp;&nbsp;evinces a recognition that the underlying claimants have a

 &nbsp;&nbsp;substantial interest in how insurance coverage questions are

 &nbsp;&nbsp;resolved. It also reflects a belief that this interest is

 &nbsp;&nbsp;best protected by having the claimants participate directly

 &nbsp;&nbsp;in the litigation between the insurance carrier and the

 &nbsp;&nbsp;insured, rather than by allowing the claimants to sue the

 &nbsp;&nbsp;carrier independently, as is apparently the practice in

 &nbsp;&nbsp;California. Accordingly, if Baxter's construction of the law

 &nbsp;&nbsp;is correct, the fact that the claimants will be excluded from

 &nbsp;&nbsp;the coverage litigation in California is not a reason to

 &nbsp;&nbsp;defer to the California courts. It is a reason to insist that

 &nbsp;&nbsp;the Illinois action be allowed to proceed in the courts of

 &nbsp;&nbsp;Illinois. Litigants such as Baxter should not be permitted

 &nbsp;&nbsp;to invoke section 2--619(a)(3) of the Code as a means for

 &nbsp;&nbsp;evading this state's public policy.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As noted earlier, Baxter ultimately succeeded in staying

 &nbsp;&nbsp;the Illinois litigation by persuading the circuit court that

 &nbsp;&nbsp;the California action would be more "comprehensive" than the

 &nbsp;&nbsp;action framed by the final amended version of Zurich's

 &nbsp;&nbsp;Illinois complaint. It is difficult to see, however, how the

 &nbsp;&nbsp;California action can be considered more "comprehensive" in

 &nbsp;&nbsp;any meaningful sense of the term. As a matter of due process,

 &nbsp;&nbsp;a judgment can only bind the actual parties to a case or

 &nbsp;&nbsp;those in privity with them. Parklane Hosiery Co. v. Shore,

 &nbsp;&nbsp;439 U.S. 322, 327 n.7, 58 L. Ed. 2d 552, 559 n.7, 99 S. Ct.

 &nbsp;&nbsp;645, 649 n.7 (1979). In its present form, the California

 &nbsp;&nbsp;action has only three parties: Zurich, Baxter, and another

 &nbsp;&nbsp;of Baxter's insurers. By contrast, the Illinois action

 &nbsp;&nbsp;includes not only those three parties, but also more than a

 &nbsp;&nbsp;hundred of Baxter's excess insurers and dozens of claimants

 &nbsp;&nbsp;from the underlying tort actions. In terms of the number of

 &nbsp;&nbsp;litigants affected, a judgment in the Illinois action will

 &nbsp;&nbsp;therefore have a far greater impact than any judgment in the

 &nbsp;&nbsp;California proceeding. To this extent, Baxter's California

 &nbsp;&nbsp;action is actually less comprehensive than Zurich's action

 &nbsp;&nbsp;in Illinois, not more so.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When Baxter claims that the California action is more

 &nbsp;&nbsp;"comprehensive," it has no concern for any of the other

 &nbsp;&nbsp;litigants. It is interested only in the case's potential for

 &nbsp;&nbsp;resolving its dispute with Zurich. Because Zurich's Illinois

 &nbsp;&nbsp;action now seeks relief in the context of the claims asserted

 &nbsp;&nbsp;by the specific Illinois claimants who have been joined,

 &nbsp;&nbsp;Baxter suggests that its effect must necessarily be more

 &nbsp;&nbsp;restrictive than the California litigation, which refers to

 &nbsp;&nbsp;the AIDS litigation generally. According to Baxter, the

 &nbsp;&nbsp;California case will cover every issue presented by every

 &nbsp;&nbsp;underlying claim, while the Illinois case will necessarily

 &nbsp;&nbsp;be limited to the circumstances of the particular claimants

 &nbsp;&nbsp;who have been joined here. The flaw in this argument is that

 &nbsp;&nbsp;it presumes that the claims of the Illinois claimants are in

 &nbsp;&nbsp;someway distinguishable from the additional claims underlying

 &nbsp;&nbsp;the California case. There is nothing in the record before

 &nbsp;&nbsp;us to substantiate such a contention. As between Zurich and

 &nbsp;&nbsp;Baxter, the issues presented by the two cases are, for all

 &nbsp;&nbsp;practical purposes, identical. Under these circumstances, a

 &nbsp;&nbsp;judgment in the Illinois action would be no less conclusive,

 &nbsp;&nbsp;as between Zurich and Baxter, than a judgment in the

 &nbsp;&nbsp;California proceeding.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the foregoing reasons, we believe that there was no

 &nbsp;&nbsp;valid reason for the circuit court to have stayed Zurich's

 &nbsp;&nbsp;action under section 2--619(a)(3) pending outcome of Baxter's

 &nbsp;&nbsp;action in California. Entry of that stay constituted an abuse

 &nbsp;&nbsp;of discretion, and the appellate court was correct when it

 &nbsp;&nbsp;reversed the circuit court's order and remanded the cause to

 &nbsp;&nbsp;the circuit court for further proceedings. The judgment of

 &nbsp;&nbsp;the appellate court, as modified by this opinion, is

 &nbsp;&nbsp;therefore affirmed.

 &nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Affirmed as modified.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;CHIEF JUSTICE BILANDIC took no part in the

 &nbsp;&nbsp;consideratioan or decision of this case.

 &nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE FREEMAN, specially concurring:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I fully agree with and join the majority's decision to

 &nbsp;&nbsp;affirm the appellate court's judgment. The appellate court

 &nbsp;&nbsp;correctly determined that the trial court abused its

 &nbsp;&nbsp;discretion by granting a stay of the underlying declaratory

 &nbsp;&nbsp;judgment action in favor of proceedings filed by defendant

 &nbsp;&nbsp;in California. I write only to highlight the salient factors

 &nbsp;&nbsp;that undergird our decision. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record reveals that Baxter filed its declaratory

 &nbsp;&nbsp;judgment action in California against Zurich, its insurer,

 &nbsp;&nbsp;nine days after Zurich filed the instant suit in Illinois.

 &nbsp;&nbsp;The California action sought a declaration that Zurich and

 &nbsp;&nbsp;105 of Baxter's excess insurers had duties to defend and

 &nbsp;&nbsp;indemnify Baxter under certain insurance policies against

 &nbsp;&nbsp;claims of numerous HIV-infected persons. These HIV-infected

 &nbsp;&nbsp;persons were not parties to the California action and, under

 &nbsp;&nbsp;California law, they were not considered necessary parties.

 &nbsp;&nbsp;By the time of this appeal, all, save one, of Baxter's 105

 &nbsp;&nbsp;excess insurers were dismissed as parties from the case. The

 &nbsp;&nbsp;California action was also stayed, pending resolution of the

 &nbsp;&nbsp;instant Illinois action.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Zurich's third-amended complaint in this action named

 &nbsp;&nbsp;Baxter, Baxter's excess insurers, and those HIV claimants,

 &nbsp;&nbsp;17 in number, over whom Illinois courts could assert personal

 &nbsp;&nbsp;jurisdiction. The third-amended complaint seeks a declaration

 &nbsp;&nbsp;that Zurich and Baxter's excess insurers owe no duties to

 &nbsp;&nbsp;defend and indemnify Baxter under the same policies against

 &nbsp;&nbsp;claims of these 17 persons.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court, exercising its discretion, stayed the

 &nbsp;&nbsp;instant action pursuant to section 2--619(a)(3), finding the

 &nbsp;&nbsp;California action more "comprehensive." 735 ILCS 5/2--

 &nbsp;&nbsp;619(a)(3) (West 1992). The appellate court vacated the stay,

 &nbsp;&nbsp;which ruling the majority now affirms.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Section 2--619(a)(3) provides that a defendant may move

 &nbsp;&nbsp;for a dismissal or stay whenever there is "another action

 &nbsp;&nbsp;pending between the same parties for the same cause." 735

 &nbsp;&nbsp;ILCS 5/2--619(a)(3) (West 1992). The provision is designed

 &nbsp;&nbsp;to avoid duplicative litigation and is to be applied to carry

 &nbsp;&nbsp;out that purpose. Kellerman v. MCI Telecommunications Corp.,

 &nbsp;&nbsp;112 Ill. 2d 428, 447 (1986). The "same cause and same parties

 &nbsp;&nbsp;requirements" are apparently threshold considerations to

 &nbsp;&nbsp;granting section 2--619(a)(3) relief. See A.E. Staley

 &nbsp;&nbsp;Manufacturing Co. v. Swift &amp; Co., 84 Ill. 2d 245, 252-54

 &nbsp;&nbsp;(1980); Kellerman, 112 Ill. 2d at 447; see also Perimeter

 &nbsp;&nbsp;Exhibits, Ltd. v. Glenbard Molded Binder, Inc., 122 Ill. App.

 &nbsp;&nbsp;3d 504, 509 (1984) (failure to meet section 619(a)(3) "same

 &nbsp;&nbsp;parties" requirement fatal to request for such relief).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Nonetheless, even if the dual requirements are met,

 &nbsp;&nbsp;relief under section 2--619(a)(3) is not mandated. The

 &nbsp;&nbsp;court's decision to grant relief or allow multiple actions

 &nbsp;&nbsp;to proceed in different jurisdictions remains a matter of

 &nbsp;&nbsp;discretion. Kellerman, 112 Ill. 2d at 447. The factors a

 &nbsp;&nbsp;court should consider in making that decision include:

 &nbsp;&nbsp;comity; the prevention of multiplicity, vexation, and

 &nbsp;&nbsp;harassment; the likelihood of obtaining complete relief in

 &nbsp;&nbsp;the foreign jurisdiction; and the res judicata effect of a

 &nbsp;&nbsp;foreign judgment in the local forum. Kellerman, 112 Ill. 2d

 &nbsp;&nbsp;at 447-48. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The present case presents a situation where at least one

 &nbsp;&nbsp;of the dual threshold requirements for section 2--619(a)(3)

 &nbsp;&nbsp;relief was not met. The Illinois and California actions do

 &nbsp;&nbsp;not involve the same parties. The California action is

 &nbsp;&nbsp;between only Baxter, Zurich and one of Zurich's excess

 &nbsp;&nbsp;insurers; the Illinois action names these parties and also

 &nbsp;&nbsp;includes 17 of the underlying claimants as well as an entire

 &nbsp;&nbsp;group of Baxter's excess insurers. Further, this is not a

 &nbsp;&nbsp;case where the same parties requirement should be relaxed.

 &nbsp;&nbsp;See Catalano v. Aetna Casualty &amp; Surety Co., 105 Ill. App.

 &nbsp;&nbsp;3d 195, 197 (1982) (requirement relaxed where parties in

 &nbsp;&nbsp;close privity); Perimeter Exhibits, Ltd. v. Glenbard Molded

 &nbsp;&nbsp;Binder, Inc., 122 Ill. App. 3d at 508 (requirement relaxed

 &nbsp;&nbsp;where parties in one action are nominal parties or their

 &nbsp;&nbsp;claims are not in issue); People ex rel. Fahner v. Climatemp,

 &nbsp;&nbsp;Inc., 101 Ill. App. 3d 1077, 1084 (1981) (parties are same

 &nbsp;&nbsp;legal entity). This point is demonstrated by the fact that,

 &nbsp;&nbsp;under California law, the unnamed underlying claimants'

 &nbsp;&nbsp;third-party rights to a recovery under the policy could not

 &nbsp;&nbsp;be determined in the California action. Any declaratory

 &nbsp;&nbsp;judgment regarding Zurich's duty to indemnify Baxter for the

 &nbsp;&nbsp;underlying claims would not be res judicata as against those

 &nbsp;&nbsp;claimants. See Shapiro v. Republic Indemnity Co. of America,

 &nbsp;&nbsp;52 Cal. 2d 437, 341 P.2d 289 (1959). In the Illinois action,

 &nbsp;&nbsp;by contrast, Zurich's obligation to fund Baxter's defense and

 &nbsp;&nbsp;payment of these particular claims would be adjudicated. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In addition to the failure of this requirement,

 &nbsp;&nbsp;discretionary factors which weigh against granting section

 &nbsp;&nbsp;2--619(a)(3) relief are readily apparent here. The California

 &nbsp;&nbsp;court repeatedly expressed frustration with the fact that our

 &nbsp;&nbsp;circuit court would not assert its jurisdiction over the

 &nbsp;&nbsp;matter. The California court stated, inter alia:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"This is an Illinois contract, entered in by

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Illinois parties, signed in the state of Illinois

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;*** [f]or some reason Illinois courts either don't

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;want to, won't, can't, choose not to or whatever.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the last year and half they have been deciding

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;through the courts whether or not they are [going]

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;to go take jurisdiction of this case or not, and

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;it really belongs in Illinois.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;***

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[I am b]aby sitting this thing until Illinois

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;finally decides they have an interest in the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;case."

 &nbsp;&nbsp;The California action was also stayed, pending resolution of

 &nbsp;&nbsp;the case here in Illinois. Clearly, the California court, for

 &nbsp;&nbsp;the sake of comity, would have been willing to defer to the

 &nbsp;&nbsp;circuit's judgment here. That willingness and the absence of

 &nbsp;&nbsp;the same parties in each suit was indicative that a stay of

 &nbsp;&nbsp;the Illinois action was unnecessary to prevent a multiplicity

 &nbsp;&nbsp;of actions.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Moreover, it cannot be said that the prior-in-time

 &nbsp;&nbsp;Illinois action was filed to vex or harass Baxter. In

 &nbsp;&nbsp;deciding whether to grant or deny the stay, the trial court

 &nbsp;&nbsp;should have considered whether this factor argued for a stay

 &nbsp;&nbsp;of the Illinois action due to the actions or animus of Zurich

 &nbsp;&nbsp;in bringing the suit. Baxter's motivation in bringing the

 &nbsp;&nbsp;California action is really not critical to the determination

 &nbsp;&nbsp;of whether this Illinois action was properly stayed. The

 &nbsp;&nbsp;majority need not belabor that point. Clearly, however,

 &nbsp;&nbsp;Baxter was attempting to speedily advantage itself by forum

 &nbsp;&nbsp;shopping when it filed in California nine days after Zurich

 &nbsp;&nbsp;filed here.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Another discretionary factor that should have been

 &nbsp;&nbsp;considered was the likelihood that the Illinois parties would

 &nbsp;&nbsp;have realized some manner of complete relief via the

 &nbsp;&nbsp;California action. Again, clearly, they could not. The

 &nbsp;&nbsp;California action would have adjudicated Baxter's rights

 &nbsp;&nbsp;under its policy with Zurich and under one excess layer

 &nbsp;&nbsp;policy with another insurer. Such judgment would afford no

 &nbsp;&nbsp;relief to Baxter's remaining excess insurers and the 17

 &nbsp;&nbsp;claimants in the Illinois action. Furthermore, any judgment

 &nbsp;&nbsp;between Zurich and Baxter in California would clearly have

 &nbsp;&nbsp;no res judicata effect against the remaining excess insurers

 &nbsp;&nbsp;and 17 claimants named as parties here. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In conclusion, the trial court abused its discretion in

 &nbsp;&nbsp;granting a stay of the instant action because a threshold

 &nbsp;&nbsp;requirement for section 2--619(a)(3) relief was not met, the

 &nbsp;&nbsp;two actions did not involve the same parties, and not one

 &nbsp;&nbsp;discretionary factor argued in any way for such relief. 

 &nbsp;&nbsp;


